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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

    MOBILITY WORKX, LLC                            §
                                                   §
    v.                                             §   CIVIL ACTION NO. 4:17cv872
                                                   §   Judge Mazzant
    CELLCO PARTNERSHIP D/B/A                       §
    VERIZON WIRELESS                               §

                                                 ORDER

.             The Court hereby sets the trial of this case before the undersigned, as follows:

          Jury Selection/Trial                  10:00 a.m. on Monday, December 7, 2020, at the
                                                Paul Brown United States Courthouse, 101 E.
                                                Pecan Street, Room 208, Sherman, Texas 75090

          IT IS SO ORDERED.
           SIGNED this 19th day of May, 2020.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
